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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                    District of Columbia


                     Conrad Smith, et al                       )
                             Plaintiff                         )
                                v.                             )      Case No.     1:21-CV-02265-APM
                   Donald J. Trump, et al                      )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          All Plaintiffs - C.Smith, D. McElroy, B. Evans, G. Latson, M. Marshall, M. Fortune, J. Deroche, R. Cleveland .


Date:          03/17/2023
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                                                                                          Attorney’s signature


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